   Case 3:20-cv-00190-RJD Document 1 Filed 02/19/20 Page 1 of 6 Page ID #1



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

EMPLOYERS & CEMENT MASONS #90             )
HEALTH & WELFARE FUND, By and Through )
Its Board of Trustees,                    )
                                          )
       and                                )
                                          )
EMPLOYERS AND CEMENT MASONS #90           )
PENSION FUND, By and Through Its Board of )               Cause No.
Trustees,                                 )
                                          )
       Plaintiffs,                        )
                                          )
v.                                        )
                                          )
ZOIE LLC d/b/a DANA HOWARD                )
CONSTRUCTION                              )
                                          )
       Defendant.                         )

                                       COMPLAINT

       The Plaintiffs, EMPLOYERS & CEMENT MASONS #90 HEALTH & WELFARE

FUND et al., by their attorneys, CAVANAGH & O’HARA LLP, complain of the Defendant,

ZOIE LLC d/b/a DANA HOWARD CONSTRUCTION, alleging as follows:

                               COUNT I
            DELINQUENT CONTRIBUTIONS/COMPEL PAYROLL AUDIT

       1.     This is a civil action under the Employee Retirement Income Security Act of 1974,

as amended from time to time and codified at 29 U.S.C. §1001 et seq. (“ERISA”), and the Labor

Management Relations Act of 1947, as amended from time to time and codified at 29 U.S.C. §141

et seq. (“LMRA”).

       2.     Plaintiffs EMPLOYERS & CEMENT MASONS #90 HEALTH & WELFARE

FUND and EMPLOYERS AND CEMENT MASONS #90 PENSION FUND are employee



                                         Page 1 of 6
   Case 3:20-cv-00190-RJD Document 1 Filed 02/19/20 Page 2 of 6 Page ID #2



benefit funds maintained in accordance with the provisions of ERISA and the LMRA, and

administered pursuant to the terms and provisions of a trust agreement, as amended and restated

from time to time.

       3.      The EMPLOYERS & CEMENT MASONS #90 HEALTH & WELFARE FUND

and EMPLOYERS AND CEMENT MASONS #90 PENSION FUND receive contributions from

numerous employers, and therefore, are multiemployer plans. (See 29 U.S.C. §1002).

       4.      Federal District Courts have exclusive jurisdiction under ERISA over civil actions

like the present action. (See 29 U.S.C. §1132).

       5.      Venue is proper in this action in a federal District Court where the breach took

place, where a defendant resides or may be found, or where the plan is administered. (See

§502(e)(2) of ERISA, 29 U.S.C. §1132(e)(2)).

       6.      Defendant, ZOIE LLC d/b/a DANA HOWARD CONSTRUCTION is an Illinois

Limited Liability Company maintaining its principal place of business in East St. Louis, IL 62205.

       7.      The Defendant is an “Employer” engaged in an industry within the meaning of 29

U.S.C. §§1002 (5), (11), (12) and (14).

       8.      Defendant employs individuals who are participants in the employee benefit funds

administered by EMPLOYERS & CEMENT MASONS #90 HEALTH & WELFARE FUND and

EMPLOYERS AND CEMENT MASONS #90 PENSION FUND pursuant to a collective

bargaining agreement and participation agreement to which Defendant is a party or otherwise

bound (the “labor agreements”).

       9.      The labor agreements bind Defendant to the provisions of the Plaintiffs’ respective

trust agreements.

       10.     Pursuant to the labor agreements and the trust agreements, the Defendant is required



                                           Page 2 of 6
   Case 3:20-cv-00190-RJD Document 1 Filed 02/19/20 Page 3 of 6 Page ID #3



to report hours worked by its employees and make prompt payment of the contributions and other

amounts required under the labor agreements to Plaintiffs.

       11.     Pursuant to §1145 of ERISA, the Defendant is required to pay contributions to the

Plaintiffs in accordance with the terms and conditions of Plaintiffs’ trust agreements. (See 29

U.S.C. §1145).

       12.     Defendant employed individuals during the time period of January 1, 2015 through

current, who performed work under the collective bargaining agreement for which contributions

are owed to Plaintiffs.

       13.     Pursuant to the labor agreements and trust agreements, Plaintiffs have the right to

examine the payroll books and records of the Defendant to determine whether the Defendant is

paying Plaintiffs all required contributions under the labor agreements.

       14.     Plaintiffs demanded that Defendant provide its relevant payroll and other business

records for purposes of an audit for the time period of January 1, 2015, to a current date to be

established by Plaintiffs’ auditor, but Defendant has refused to provide Plaintiffs with its payroll

and other business records for purposes of an audit.

       15.     Defendant owes Plaintiffs contributions for all unreported and unpaid hours of work

performed by its employees for the time period of January 1, 2015, to present.

       16.     Pursuant to the terms of the labor agreements and trust agreements, Defendant owes

Plaintiffs liquidated damages equal to 20% of the amount of contributions that are not paid timely.

       17.     Defendant breached the provisions of the labor agreements and trust agreements by

refusing to provide Plaintiffs with its payroll and other business records for purposes of an audit.

       18.     Pursuant to the terms of the labor agreements and trust agreements, the Defendant

is liable for reasonable attorneys’ fees, court costs and all other reasonable expenses incurred by



                                            Page 3 of 6
   Case 3:20-cv-00190-RJD Document 1 Filed 02/19/20 Page 4 of 6 Page ID #4



Plaintiffs in the collection of delinquent contributions.

       19.     Pursuant to §1132(g)(2) of ERISA, if judgment is entered in favor of Plaintiffs in

this matter, the Court shall award Plaintiffs certain relief, including interest, liquidated damages or

double interest, and attorneys’ fees. More specifically, §1132(g)(2) of ERISA provides as follows:

               (g)    Attorney’s fees and costs; awards in actions involving
               delinquent contributions

                                       *               *               *

                       (2)     In any action under this subchapter by a fiduciary for
                       or on behalf of a plan to enforce section 1145 of this title in
                       which a judgment in favor of the plan is awarded, the court
                       shall award the plan –

                               (A)     the unpaid contributions,

                               (B)     interest on the unpaid contributions,

                               (C)     an amount equal to the greater of –

                                       (i)     interest on the unpaid contributions,
                                       or

                                       (ii)   liquidated damages provided for
                                       under the plan in an amount not in excess of
                                       20 percent (or such higher percentage as may
                                       be permitted under Federal or State law) of
                                       the amount determined by the court under
                                       subparagraph (A),

                               (D)     reasonable attorney’s fees and costs of the
                               action, to be paid by the defendant, and

                               (E)    such other legal or equitable relief as the
                               court deems appropriate.

                       For purposes of this paragraph, interest on unpaid
               contributions shall be determined by using the rate provided under
               the plan, or, if none, the rate prescribed under section 6621 of title
               26.

               (See, §1132(g)(2) of ERISA).

                                             Page 4 of 6
   Case 3:20-cv-00190-RJD Document 1 Filed 02/19/20 Page 5 of 6 Page ID #5



        WHEREFORE, Plaintiffs pray as follows:

        A.      That judgment is entered in favor of Plaintiffs, EMPLOYERS & CEMENT

MASONS #90 HEALTH & WELFARE FUND et al., and against ZOIE LLC d/b/a DANA

HOWARD CONSTRUCTION for all fringe benefit contributions, interest and liquidated damages

owed to Plaintiffs for the time period of January 1, 2015, through a future date including without

limitation the ending date of any payroll compliance audit;

        B.      That ZOIE LLC d/b/a DANA HOWARD CONSTRUCTION, be ordered to

provide and or make available to Plaintiff or its auditor, within 30 days of the judgment, all

payroll and other business records of ZOIE LLC d/b/a DANA HOWARD CONSTRUCTION for

the time period of January 1, 2015, through a future date determined by Plaintiffs or its auditor,

in order for Plaintiffs to determine the fringe benefit contributions and other sums owed by ZOIE

LLC d/b/a DANA HOWARD CONSTRUCTION to Plaintiffs;

        C.      That Plaintiffs are granted leave of Court to file supplemental proofs establishing

the judgment sum for contributions determined to be due and owing for the time period of

January 1, 2015, through a future date to be determined by the payroll audit, as well as for the

liquidated damages, interest, audit costs, attorneys’ fees and costs to which Plaintiffs are entitled

to pursuant to the trust agreements and ERISA;

        D.      That ZOIE LLC d/b/a DANA HOWARD CONSTRUCTION is ordered to pay to

the Plaintiffs all of Plaintiffs’ costs attendant to these proceedings;

        E.      That Plaintiffs are awarded, at Defendant’s cost, such further and other relief as

may be available under ERISA, the collective bargaining agreement, the trust agreement or as is

otherwise just and equitable.

                                                Respectfully submitted,



                                              Page 5 of 6
Case 3:20-cv-00190-RJD Document 1 Filed 02/19/20 Page 6 of 6 Page ID #6



                                 EMPLOYERS & CEMENT MASONS            #90
                                 HEALTH & WELFARE FUND et al.,
                                 Plaintiffs,

                          By:    s/ Jacob A. Blickhan
                                 JACOB A. BLICKHAN
                                 CAVANAGH & O’HARA LLP
                                 Attorneys for Plaintiffs
                                 2319 West Jefferson
                                 Springfield, IL 62705
                                 Telephone (217) 544-1771
                                 Facsimile (217) 544-9894
                                 jacobblickhan@cavanagh-ohara.com




                                Page 6 of 6
